             Case 18-15362-amc                    Doc        Filed 11/08/22 Entered 11/08/22 15:31:08                              Desc Main
                                                             Document      Page 1 of 6
 Fill in this information to identify the case:
 Debtor 1    Lisa N. Sistrunk
             aka Lisa Rich
             aka Lisa Rich-Sistrunk

 Debtor 2

 (Spouse, if filing)

 United States Bankruptcy Court for the EASTERN District of PENNSYLVANIA

 Case number -15362-elf

Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                   12/15
If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor: Wilmington Savings Fund Society, FSB, d/b/a                     Court claim no. (if known): 7-2
Christiana Trust, not individually but as trustee for Pretium
Mortgage Acquisition Trust
Last 4 digits of any number you use to                                            Date of payment change: 12/1/2022
identify the debtor’s account: 4750                                               Must be at least 21 days after date
                                                                                  of this notice

                                                                                  New total payment: $1,146.29
                                                                                  Principal, interest, and escrow, if any

 Part 1:       Escrow Account Payment Adjustment

 1.      Will there be a change in the debtor’s escrow account payment?

         □ No.
         ■ Yes.         Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                        the basis for the change. If a statement is not attached, explain why:
                        ________________________________________________________________________________________________________
                        ____________________________________

         Current escrow payment: $277.93                             New escrow payment: $481.32


 Part 2:       Mortgage Payment Adjustment

 2.      Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
          variable-rate account?

         ■ No
         □ Yes.        Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
                         explain why:
                         _______________________________________________________________________________________________________
                         __________________________________________________________________________________

         Current interest rate:                                    New interest rate:

         Current principal and interest payment:           New principal and interest payment:


 Part 3:       Other Payment Change

 3.      Will there be a change in the debtor's mortgage payment for a reason not listed above?

         ■ No
         □ Yes         Attach a copy of any document describing the basis for the change, such as a repayment plan or loan modification agreement.
                       (Court approval may be required before the payment change can take effect.)

                       Reason for change: ________________________________________________________________________________

         Current mortgage payment                           New mortgage payment:



Official Form 410S1                                   Notice of Mortgage Payment Change                                                page 1
            Case 18-15362-amc                     Doc           Filed 11/08/22 Entered 11/08/22 15:31:08                                 Desc Main
                                                                Document      Page 2 of 6


Debtor 1 Lisa N. Sistrunk                                            Case number (if known) -15362-elf
           Print Name        Middle Name   Last Name




 Part 4:      Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

 Check the appropriate box.
      □ I am the creditor
      ■ I am the creditor’s authorized agent.

 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
 information, and reasonable belief.
           Alexa Martini Stinson                          11/4/2022
     /s/ ______________________                   Date ________________________
     Signature


                        Alexa Martini Stinson
  Print             _____________________________________________                                        Title   Authorized Agent for Creditor
                    First Name                    Middle Name       Last Name


  Company           Robertson, Anschutz, Schneid, Crane & Partners, PLLC


  Address           130 Clinton Rd #202
                    Number       Street


                    Fairfield NJ 7004
                    City                                                 State         ZIP Code

                                                                                                                 astinson@raslg.com
  Contact Phone     470-321-7112                                                                         Email _____________________________




Official Form 410S1                                    Notice of Mortgage Payment Change                                                         page 2
          Case 18-15362-amc    Doc    Filed 11/08/22 Entered 11/08/22 15:31:08             Desc Main
                                      Document      Page 3 of 6
                                     CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that on     NOVEMBER 8 2022 I electronically filed the foregoing with the Clerk

of Court using the CM/ECF system, and a true and correct copy has been served via United States Mail to the
following:

LISA N. SISTRUNK
313 E. CLIVEDEN STREET
PHILADELPHIA, PA 19119

And via electronic mail to:

CLAIR M. STEWART
ATTORNEY AT LAW
100 S. BROAD STREET,
SUITE 1523
PHILADELPHIA, PA 19110

KENNETH E. WEST
OFFICE OF THE CHAPTER 13 STANDING TRUSTEE
1234 MARKET STREET - SUITE 1813
PHILADELPHIA, PA 19107

UNITED STATES TRUSTEE
OFFICE OF THE U.S. TRUSTEE
ROBERT N.C. NIX FEDERAL BUILDING
SUITE 300
PHILADELPHIA, PA 19107


                                                By: /s/ MICHAEL GOGAN




Official Form 410S1               Notice of Mortgage Payment Change                           page 3
                                                Representation Of Printed Document
           Case 18-15362-amc             Doc      Filed 11/08/22 Entered 11/08/22 15:31:08                     Desc Main
                                                  Document
                                               P.O. Box 8619    Page 4 of 6
                                               Philadelphia, PA 19101-8619
                                                                                                                      P.O. Box 8619
                                                                                                       Philadelphia, PA 19101-8619
                                                                                                          Telephone (877) 768-3759
 October 25, 2022                                                                                                Fax (866) 926-5498
                                                                                                            www.selenefinance.com


                                                                                                           Hours of Operation (CT)
                                                                                                 Monday - Thursday: 8 a.m. - 9 p.m.
                                                                                                            Friday: 8 a.m. - 5 p.m.
        AARON C SISTRUNK
        LISA RICH SISTRUNK
        313 E CLIVEDEN ST
        PHILADELPHIA PA 19119-2321




      Mortgagor(s):         AARON C SISTRUNK
                            LISA RICH SISTRUNK
      Property Address:     313 E CLIVEDEN ST
                            PHILADELPHIA PA 19119



Dear Mortgagor(s):
Our records indicate the above referenced mortgagor(s) is/are either in bankruptcy or has/have received a
discharge in bankruptcy. If the mortgagor(s) has/have received a discharge in bankruptcy, Selene fully
acknowledges that the mortgagor(s) has/have no personal liability for the debt. THIS NOTICE IS FOR
INFORMATIONAL PURPOSES ONLY.




 Selene Finance LP is a debt collector attempting to collect a debt and any information obtained will be used for that purpose.
 Please note that if you are in bankruptcy or received a bankruptcy discharge of this debt, this communication is not an attempt
 to collect the debt against you personally.
 For Servicemembers and their Dependents: The Federal Servicemembers Civil Relief Act and certain state laws provide
 important protections for you, including, under most circumstances, a prohibition on foreclosure during and twelve months
 after the servicemember’s active duty service. Selene will not foreclose on the property of a servicemember or his or her
 dependent during that time, except pursuant to a court order. You also may be entitled to other protections under these laws,
 including interest rate and fee relief. Please contact us to learn more about your rights.




                                                          Internet Reprint
                                                                  Representation Of Printed Document
                 Case 18-15362-amc                             Doc            Filed 11/08/22 Entered 11/08/22
                                                                                                       ANNUAL15:31:08 Desc Main
                                                                                                              ESCROW ACCOUNT
                                                                              Document
                                                                         P.O. Box 8619      Page 5 of 6 DISCLOSURE STATEMENT
                                                                         Philadelphia, PA 19101-8619


                                                                                                                                                          DATE: October 25, 2022
                                                                                                                                                                                              New Payment
                                                                                                                                                                             Previous             Effective
                                                                                                                                                                             Payment               12/01/22
                                                                                                                      PRINCIPAL AND INTEREST                                   $664.97              $664.97
                                                                                                                      ESCROW                                                    $252.53                 $296.14
                                                                                                                      SHORTAGE SPREAD                                             $25.40                $185.18
             AARON C SISTRUNK                                                                                         TOTAL PAYMENT                                             $942.90              $1,146.29
             LISA RICH SISTRUNK                                                                                       CURRENT ESCROW BALANCE                                 -$1,762.19
             313 E CLIVEDEN ST
             PHILADELPHIA PA 19119-2321


                                                                                                                      CUSTOMER SERVICE 877-735-3637

                                                                        COMING YEAR ESCROW PROJECTION
The purpose of the Coming Year Escrow Projection is to determine the lowest balance “Low Point” to which your escrow account will decline over the upcoming year. The purpose of the Low Balance
Summary is to compare the projected and allowable low point amounts. If the projected low point is greater than the allowable low point (*), there is a surplus. If the surplus is $50.00 or greater, it will be
automatically refunded to you. If the surplus is less than $50.00, we have lowered your payment accordingly. If the projected low point is less than the allowable low point(*), there is a shortage and/or
deficiency which will be recovered by an adjustment to your monthly payment over a specified number of months. The adjustment amount(s) appears in the Low Balance Summary and New Payment
Information.


   ANTICIPATED ESCROW DISBURSEMENT                                           PAYMENTS                                                                 PAYMENTS    CUR BAL    REQ BAL
                                                              MONTH         TO ESCROW               DESCRIPTION                                     FROM ESCROW PROJECTION PROJECTION
HOMEOWNERS INS                                 2,078.34
                                                                                                    BEGINNING BALANCE                                                             739.22           2,961.45
CITY TAXES                                     1,475.39
                                                               12/22                296.14                                                                        .00           1,035.36           3,257.59
                                                               01/23                296.14                                                                        .00           1,331.50           3,553.73
                                                               02/23                296.14          CITY TAXES                                              -1,475.39             152.25           2,374.48
                                                               03/23                296.14          HOMEOWNERS INS                                          -2,078.34          -1,629.95             592.28 *
                                                               04/23                296.14                                                                        .00          -1,333.81             888.42
                                                               05/23                296.14                                                                        .00          -1,037.67           1,184.56
                                                               06/23                296.14                                                                        .00            -741.53           1,480.70
TOTAL DISBURSEMENTS                             3,553.73       07/23                296.14                                                                        .00            -445.39           1,776.84
DIVIDED BY 12 MONTHS                                           08/23                296.14                                                                        .00            -149.25           2,072.98
MONTHLY ESCROW DEPOSIT                           296.14        09/23                296.14                                                                        .00             146.89           2,369.12
                                                               10/23                296.14                                                                        .00             443.03           2,665.26
          LOW BALANCE SUMMARY                                  11/23                296.14                                                                        .00             739.17           2,961.40

PROJECTED LOW POINT                           -1,629.95        TOTAL             3,553.68                                                                   -3,553.73
ALLOWABLE LOW POINT                              592.28




SHORTAGE                             2,222.23
   ESCROW ADJUSTMENT
                                       185.18
   FOR 12 MONTHS
The cushion allowed by federal law (RESPA) is
two times your monthly escrow payment
(excluding MIP/PMI), unless state law specifies
a lower amount.

                                                                              IMPORTANT MESSAGES




                                                                                       INTERNET REPRINT
                                                         ESCROW SHORTAGE
                                                         This is not a bill for the shortage amount. The total shortage amount is automatically divided by
                                                         12 and included in your monthly payment.
 AARON C SISTRUNK
 LISA RICH SISTRUNK




                                                                                                                                                                          SHORTAGE AMOUNT

                                                                                                                                                                                $2,222.23
        Perf Page
                                                               ESCROW ACCOUNT HISTORY
              Case 18-15362-amc
Loan Number: 0007154750
                                                     Doc  Filed 11/08/22 Entered 11/08/22 15:31:08 Desc                                      Main
                                                                                                                                     Date: October 25, 2022
                                                          Document              Page     6  of   6
♦ This statement itemizes your actual escrow account transactions since your previous analysis statement or initial disclosure. The projections from your previous
    escrow analysis are to the left of the actual payments, disbursements and escrow balance. By comparing the actual escrow payments to the previous projections
    listed, you can determine where a difference may have occurred.
♦   An asterisk (*) indicates a difference from the projected activity in either the amount or date.
♦   When applicable, the letter “E” beside an amount indicates that a payment or disbursement has not yet occurred but is estimated to occur as shown.
♦   Your projected low point may or may not have been reached based on one or more of the following factors:
PAYMENT(S)                                                  TAXES                                               INSURANCE
• Monthly payment(s) received earlier OR later              • Tax rate and/or assessed value changed            • Premium changed
  than expected                                             • Exemption status lost or changed                  • Coverage changed
• Monthly payment(s) received were less than OR             • Supplemental/Delinquent tax paid                  • Additional premium paid
  greater than expected                                     • Tax bill paid earlier OR later than expected      • Insurance bill paid earlier OR later than expected
• Previous overage was returned to escrow                   • Tax installment not paid                          • Premium was not paid
• Previous shortage not paid entirely                       • Tax refund received                               • Premium refund received
                                                            • New tax escrow requirement paid                   • New insurance escrow requirement paid
                                                                                                                • Lender placed insurance premium paid
               PAYMENTS TO ESCROW                 DISBURSEMENTS FROM ESCROW                                                                 ESCROW BALANCE
MONTH         PROJECTED     ACTUAL                   PROJECTED      ACTUAL               DESCRIPTION                                 PROJECTED                 ACTUAL
                                                                                         BEGINNING BALANCE                            1,262.68            -1,390.25
    12/21           252.53        234.80                                                                                              1,515.21            -1,155.45
    01/22           252.53        469.60                                                                                              1,767.74              -685.85
    02/22           252.53        469.60              1,475.39          1,475.39         CITY TAXES                                     544.88            -1,691.64
    03/22           252.53        234.80                                2,078.34 *       HOMEOWNERS INS                                 797.41            -3,535.18<
    04/22           252.53                                                                                                            1,049.94            -3,535.18
    05/22           252.53        234.80                                                                                              1,302.47            -3,300.38
    06/22           252.53        469.60                                                                                              1,555.00            -2,830.78
    07/22           252.53        234.80                                                                                              1,807.53            -2,595.98
    08/22           252.53        555.86              1,555.00                                                                          505.06<           -2,040.12
    09/22           252.53                                                                                                              757.59            -2,040.12
    10/22           252.53                  E                                        E                                                1,010.12            -2,040.12
    11/22           252.53                  E                                        E                                                1,262.65            -2,040.12
TOTALS            3,030.36      2,903.86              3,030.39          3,553.73

Under Federal Law (RESPA) the lowest monthly balance in your escrow account should not exceed $505.06 or 1/6th of the total
anticipated annual disbursement from your escrow account, unless your mortgage documents or state law specifies a lower amount.
When your escrow balance reaches its lowest point during the account cycle, that balance is targeted to be your cushion amount. Under
the Mortgage Contract or State or Federal Law, the targeted low point in your escrow account is $505.06 and the actual low point balance
was -$3,535.18; the amount is indicated with an arrow (<).

Please note that:

     1. Selene, as servicer of your mortgage loan, is obligated to make all payments for taxes and insurance for which the escrow account is
        maintained and if any such payment is not timely, Selene will be responsible for making such payments including any penalties and interest
        and shall be liable for all damages to the mortgagor resulting from its failure to make timely payments;

     2. In the event that a real property insurance premium notice is sent directly to you by the insurer, you have the obligation to promptly transmit
        such premium notice to Selene or our designated institution for payment. Failure to do so may jeopardize your insurance coverage and may
        excuse Selene from liability for failure to timely make such real property insurance payments.

     3. You, as mortgagor, are obligated to pay one-twelfth of the annual taxes and insurance each month to Selene which will be deposited into a
        real property escrow account. However, when there is a deficiency or surplus in your escrow account, a greater or lesser amount may be
        required;

     4. Selene will deposit the escrow payments into a banking institution whose deposits are insured by a federal agency; and

     5. Selene cannot impose any fees related to the maintenance of the real property escrow account.

Selene Finance LP is a debt collector attempting to collect a debt and any information obtained will be used for that purpose.
Please note that if you are in bankruptcy or received a bankruptcy discharge of this debt, this communication is not an attempt
to collectthe debt against you personally.

For Servicemembers and their Dependents: The Federal Servicemembers Civil Relief Act and certain state laws provide
important protections for you, including, under most circumstances, a prohibition on foreclosure during and twelve months
after the servicemember’s active duty service. Selene will not foreclose on the property of a servicemember or his or her
dependent during that time, except pursuant to a court order. You also may be entitled to other protections under these laws,
including interest rate and fee relief. Please contact us to learn more about your rights.
